         Case 3:17-cv-02026-JBA Document 93-1 Filed 05/09/19 Page 1 of 5



                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

CONFIGAIR LLC,                                )               Lead Docket No.:
                                              )               3:17-cv-02026 (JBA)
            Plaintiff/Counterclaim Defendant, )               U.S.D.C./New Haven
                                              )
      v.                                      )                Judge Janet Bond Arterton
                                              )
HENRY KURZ                                    )
                                              )
            Defendant/Counterclaimant.        )
__________________________________________)                   May 9, 2019

                        MEMORANDUM OF LAW IN SUPPORT OF
                     MOTION FOR WITHDRAWAL OF APPEARANCE


        Edmund J. Ferdinand, Jessica S. Rutherford and the firm of Ferdinand IP, LLC submit

this memorandum of law in support of their motion for withdrawal of appearance as counsel of

record for defendant/counterclaimant/third-party plaintiff Henry Kurz (“Kurz”) and plaintiff

Henry Kurz Consulting GmbH (“HKC”) in the above-captioned case, pursuant to Local Rule

7(e) of Civil Procedure.

                                                 FACTS

        The facts in support of this application are set forth separately in the Declaration of

Jessica S. Rutherford, dated May 9, 2019 (“Rutherford Declaration”), which will be filed under

seal to protect the attorney-client privilege.

                                            ARGUMENT

        The Court “has a great deal of discretion in deciding a motion for withdrawal of counsel.”

Vachula v. Gen. Elec. Capital Corp., 199 F.R.D. 454, 457 (D.Conn. 2000) (citing Whiting v.

Lacara, 187 F.3d 317, 320 (2d Cir. 1999). Local Rule 7(e) of Civil Procedure provides that the

Court may grant an appearing counsel’s motion to withdraw where “good cause exists for
         Case 3:17-cv-02026-JBA Document 93-1 Filed 05/09/19 Page 2 of 5



permitting the withdrawal…after notice to the party that failure to either engage successor

counsel or file a personal appearance will result in the granting of the motion to withdraw and

may result in a dismissal or default being entered against the party.” D. Conn. L. Civ. R. 7(e).

       “As a first step in considering counsel’s request, the court looks to the Rules of

Professional Conduct as approved by the Judges of the Connecticut Superior Court…to

determine whether withdrawal is permissive or mandatory given the facts presented.” Eaton v.

Coca-Cola Co., 640 F.Supp. 2d 203, 206 (D. Conn. 2009) (quoting Vachula, 199 F.R.D. at 457).

Rule 1.16(a) of the Connecticut Rules of Professional Conduct (“CRPC”) provides that

withdrawal is mandatory where the lawyer is discharged. See, CP Solutions PTE, Ltd. v. General

Elec. Co., 550 F.Supp.2d 298 (2008) (finding de facto termination of the attorney-client

relationship where client and attorney are adversaries). In addition, Rule 1.16(b) of the CRPC

provides for permissive withdrawal if “the client fails substantially to fulfill an obligation to the

lawyer regarding the lawyer’s services and has been given reasonable warning that the lawyer

will withdraw unless the obligation is fulfilled;” or when “the representation will result in an

unreasonable financial burden on the lawyer or has been rendered unreasonably difficult by the

client.” Sawant v. Ramsey, 2009 WL 10688162, at *1 (D. Conn. June 19, 2009) (quoting

Philadelphia Indem. Ins. Co. v. Atlantic Risk Mgmt., Inc., CV064018752s, 2007 Conn. Super.

LEXIS 1963, at *3 (Conn. Super. July 27, 2007)).

       “Attorneys ‘[c]ertainly…are not required to finance the litigation or render gratuitous

services.’” Id. In Philadelphia Indemn. Ins., the court found good cause for withdrawal where

the attorneys had “not been paid legal fees for substantial pretrial work, and [the firm was] a

boutique firm that [could] not continue to represent the defendant in [a] ‘complex, multi-million

dollar litigation.’” 2007 WL 2363489, at *1.
         Case 3:17-cv-02026-JBA Document 93-1 Filed 05/09/19 Page 3 of 5



       Moreover, “when there has been ‘an irreparable breakdown in [the] attorney-client

relationship,’ withdrawal of representation is often ‘warranted,’ and in circumstances of conflict

of interest, even ‘required.’” Westchester Fire Ins. Co. v. Enviroguard, LLC, 2014 WL 2881507,

at *2 (D. Conn. June 25, 2014) (quoting CP Solutions PTE Ltd., 550 F.Supp.2d at 302). See also,

Matza v. Matza, 226 Conn. 166, 183-184, (1993) (permitting withdrawal where there has been an

irreparable breakdown in the attorney-client relationship); Eaton, 640 F.Supp.2d at 206 (finding

“good cause” for counsel to withdraw where counsel’s relationship with client was “irrevocably

broken”).

       The Rutherford Declaration sets forth the following reasons for the request for leave to

withdraw as counsel for Kurz and HKC: the clients’ substantial failure to fulfill an obligation to

the lawyer regarding the lawyer’s services following reasonable warning that the lawyer will

withdraw unless the obligation is fulfilled; continued representation will result in an

unreasonable financial burden on the lawyer; irreparable breakdown in the attorney-client

relationship; and de facto discharge.

       Withdrawal will not prejudice the other parties or interfere with the administration of

justice. Any new counsel Kurz and HKC retain will have ample opportunity to familiarize

herself with this case. Discovery is still in its early stages and is not due until September 20,

2019, per the current scheduling order. [Doc. #81]. All pending motions have been fully briefed,

and the hearing is not scheduled until June 10, 2019—30 days away. Trial is not anticipated

until April 2020.

       Meanwhile, this action will require considerable legal work, including the

aforementioned hearing, a settlement conference scheduled for June 4, 2019, and numerous

depositions, as well as the retention of expert witnesses. If funds will not be available for
         Case 3:17-cv-02026-JBA Document 93-1 Filed 05/09/19 Page 4 of 5



preparing for hearings and conferences, conducting and defending depositions and paying the

experts, the ability of counsel to provide adequate representation will be severely limited.

Counsel will not be able to absorb the expense that this action will generate.

       It is respectfully submitted that counsel has shown sufficient reason to be granted leave to

withdraw their appearances on behalf of Kurz and HKC in this action.


Dated: May 9, 2019

                                                      Respectfully submitted,


                                                      By _/s/ Jessica S. Rutherford______
                                                      Jessica S. Rutherford
                                                      ct27273
                                                      jrutherford@24iplg.com
                                                      Edmund J. Ferdinand, III
                                                      ct21287
                                                      jferdinand@24iplg.com
                                                      FERDINAND IP, LLC
                                                      1221 Post Road East, Suite 302
                                                      Westport, Connecticut 06880
                                                      Telephone: (203) 557-4224
                                                      Facsimile: (203) 905-6747

                                                      Attorneys for Defendant, Counterclaimant
                                                      and Third-Party Plaintiff, Henry Kurz, and
                                                      Plaintiff Henry Kurz Consulting GmbH
         Case 3:17-cv-02026-JBA Document 93-1 Filed 05/09/19 Page 5 of 5




                                  CERTIFICATE OF SERVICE

       I hereby certify that on this May 9, 2019 a true and correct copy of the foregoing

MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR WITHDRAWAL OF

APPEARANCE was filed electronically. Notice of this filing will be sent by e-mail to all parties

by operation of the Court’s electronic filing system or by mail to anyone unable to accept

electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing

through the Court’s CM/ECF System. I further certify that it was served by electronic mail and

by Federal Express to Henry Kurz and Henry Kurz Consulting GmbH.



                                                      _/s/Jessica S. Rutherford____
                                                      Jessica S. Rutherford
